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Los An eles Cahfornia 90045

310 2 2-2200 Telephone

310 242-2222 Facsinnle

Attorne s for Defendant
MIDLA D CREDIT MANAGEMENT, INC.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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CURTIS DUMP, c§i¥hiigw § § § § § MWH V\/Ajj
Piaimiffs, NoTICE oF REMOVAL

VS.

MIDLAND CREDIT
l\/IANAGEMENT, INC.

Defendant.

 

DEFENDANT’S N()TICE OF REMOVAL
Defendant MIDLAND CREDIT MANAGEMENT, INC.(“Defendant”)
hereby files this notice of removal under 28 U.S.C. §1446(a).
A. Introduction
1. Defendant is Midland Credit Management, lnc. (“Defendant”);- Plaintiff
is Curtis Dump (“Plaintiff”).
2. Upon information and belief, this case Was initially filed on May 15,

2012 in the Superior Court of California, County of Los Angeles, Small Claims

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07156.00/185110 ' NOTICE OF REMOVAL

 

 

 

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Case No. 12800406.

3. On l\/lay 24, 2012, Defendant Was personally served With Plaintiff’s
Clairn and Order. (See Declaration of Defendant in Support of Notice of Removal,
filed concurrently herewith). A true and correct copy of Plaintiff s Claim and Order
is attached hereto as Exhibit A.

4. As Defendant received Plaintiffs Complaint on l\/lay 24, 2012,
Defendant files this notice of removal Within the 30-day time period required by 28
U.S.C. §l446(b)), and as extended via FRCP 6. See Wells v. Gateways Hosp. &
Men'tal Health Ctr_., 1996 U.S. App. LEXlS 2287 at *2 (9th Cir. Cal. Jan. 30, 1996);
Williams v. Leonard, 2003 U.S. Dist. LEXIS 772 (N.D. Cal. Jan. 13, 2003).

B. Basis for Removal

5. Removal is proper because Plaintiff‘s Cornplaint involves a federal
question. 28 U.S.C. §§1331, 1441(b); Long v. Bando Mfg. ofAm., [nc., 201 F.3d
754, 757-58 (6th Cir. 2000); Peters v. Union Pac. R.R., 80 F.3d 257, 260 (8th Cir.
1996). Specifically, Plaintiff has alleged claims that arise under 15 U.S.C. § 1692,
et seq., for alleged violation of the Fair Debt Collection Practices Act.

6. “Where it appears from the bill or statement of the plaintiff that the
right to relief depends upon the construction or application of the Constitution or
laws of the United States, and that such federal claim is not merely colorable, and
rests upon a reasonable foundation, the District Court has jurisdiction. . .. “ Smith v.
Kansas Cily Tz`tle and Trust Co., 255 U.S. 180, 41 S. Ct. 243, 65 L. Ed. 577 (1921)
(Court upheld federal jurisdiction over the case because the state claim embraced a
federal question). A case may "arise under" federal law for purposes of 28 U.S.C. §
1331 even When a state cause of action is asserted, however, "Where the vindication
of a right under state law necessarily turns on some construction of federal law."
Franchise T ax Bd. of Cal. v. Constr. Laborers Vacation Trustfor Souz‘hern Cal.,
463 U.S. l, 27-28, 103 S. Ct. 2841, 77 L. Ed. 2d 420 (1983) The question then is

Whether laintiffs "ri ht to relief under state law re uires resolution of a substantial
P 8 Cl

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question of federal law in dispute.".

7. Similarly, to bring a case within (arising-under jurisdiction), a right or
immunity created by the Constitution or laws of the United`States must be an
element, and an essential one, of the plaintiffs cause of action. The right or
immunity must be such that it will be supported if the Constitution or laws of the
United States are given one construction or effect, and defeated if they receive
another Gully v. FirstNat'lBank(U.S. 1936) 299 U.S. 109, 112, 112, 57 S. Ct. 96,
97.

8. All pleadings, process, orders, and other filings in the state court action
are attached to this notice as Exhibit “A”.

9. Venue is proper in this district under 28 U.S.C. §l44l(a) because this
district and division embrace the place where the removed action has been pending

10. Defendant will promptly file a copy of this notice of removal with the
clerk of the state court where the action has been pending

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ll. Plaintiff does not demand a jury in the state court action, as it is a small

claims court action. Defendant demands a jury trial.
D_._(Ln_¢_llls_i<m

12. Defendant respectfully request removal of this action as it'involves a

F ederal question under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692.

DATED: June 25, 2012 CARLSON & MESSER LLP

%,/Z;

B ,
y David J. Kaminsl_<i, Esq.
Stephen A. Watkins, Esq.

 

Attorne s for Defendant

MIDLA D CREDIT MANAGEMENT,
INC..

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07156.00/185110 NOTICE OF REMOVAL

 

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-f`.".-;» _ Plaint'lff’$ Clalm and ORDER ` C!erkstamp`s dale hare when farmls`lllad.
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_ to Go to Small Clatms Court gum,,u,@,,(,,{¢,;(,§mbm
Notioe to the person being sued: C<\‘tt»t.‘-' 111 ‘~~':i entities
- . `~ `.Vou are the Defendant if your name is'listed in @ on age 2 of this ‘ . ' `. F.,.,',§Y 15 gun '

fon'n. The person suing you is the Plaintitl`, listed in on page 2. ' ' .`_ -

. You and the Plaintifl` must go to court on the trial date listed below. lfyOu lab-‘JAJ anrkn,.Exeottllvc Ol‘licer/ Clc1 k

do not go to court, you may lose the case

Bym-;,mm
= lf you lose, the court can order that your wages, money, or property be m ’ 9mm

 

 

 

 

taken to pay this claim.

' Bring witnesses receipts, and any evidence you neéd'to prove your case. " ppm munnama and sm¢adamss_»
~ ' ' ` . . n 1 d
' Read this fonn and all pages attached to understand the claim agamst sup°"°r C°ud °f cam°m'a' E°u'“y °'
ou and to rotect our ri ts. _

Y_ *’ y gh asunowen suPamoR count
Avtso at Demandado: 10025 FLOWER ST_ = _
' Usted es el Démandado si su nombre figure en®de la pégina 2 ,_ E.ELLF'LQWER,-CA gm »"'M

de este formulatio. La persona que lo demands es cl Demandan_te, la que

ngum en ®de la pég‘um 2_ Clarir lifts ln ease number end case name:

. ~ . ~ . . caso.uumban . . , ~ ,
Usted y el Demandant__e tienen que presentaxse en la corte en la fecha del i?‘ S ooqocp
juicio indicada a contir'ntacion. Si no se presenta, pucde perder el caso. case Name:

mtd l final _

 

 

" 'Si pierde el esso la corte.podria o'rdenar que le quiten de su su_e_ldo, dinero u Du-m P V $
otxos bienes para pager este reclamo. "` .

 

0

' Lleve testigos, recibos y cunlquier.o_tra prueba que necesite para probar su caso. ‘ ~ _ _
~, Lea este formulario y todas las paginas adjuntas pain entender la demands en su contra y para proteger sus dercehos.

 

The people in ® and @ mustl go to court: (C!erm)s causation belan '

 

 

 

 

 

 

 

 

 

b 'ma; 9 Date ' 'l`ixne Dcpartment Name and address of conn if diH`erentfrom above
l Daf@ l 1.0'l'0?.»t'2. q'OOAm 00( w l l
2. lnll')§ Fl OWFR ST
3_ BELLFLOWER. CA 80?06
Date: g ‘iS‘ lz' Clerk, by K.GLUG€ ,Deputy

instructions for the person suing:

‘ You are the Plaintit`f. The petsoo you are suing is the Defendant

- B@"ore you fill out this form, read Fon‘n SC- lOO-INFO, information far the P!ainrijj to know your rights Get
SC~lOO-INFO at any courthouse or county law libmry, or go to: www.courtsca.gov/smal{claims/£)rm.

~ Fill out pages 2 and 3 of this form. Then make copies of all pages of this fonn. (Make l copy for each party named in
this case and an extra copy for yourself.) Take or mail the Original and these copies to the court clerk's office and pay
the filing fee. The clerk will write the date of your trial in the box above.

~ You must have someone at_least l8-not you or anyone else listed in this case-give each Defendant a court~stamp ed
copy of all 5 pages of this form and any pages this form tells you to attacb. There are special rules for "serving," or
delivering, this form to public entities, associations, and some businessesh See Foxms SC-104, SC- lG¢iB,

.andsc-104c.' . ~ _ _ - v -'_.'.
»~ Go to court on your trial date listed above.~ Bring wimesses, receipts, and any evidence you need to prove your case. '

 

qualsncmsmc.wmv.mmmnwv v , plaintiffs C|aim and ORDER ‘ _ _ 50-100, Paga t 015
R¢§¢"§iieam`m'zii'ii:.°ii§§m. to Go to Sma|t Claims Court -3>.
namet vietnam (Smatl Cla|ms)

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Case Numb§t'£

 

 

 

Piainatt am names).- Curfis Dump

® The Plaintlff (the'person, business, or public én'tlty~that is suing) is: » '- '.
Name: Curtls DUmD Phone: ( 562) 343'0674

 

 

 

 

 

 

Sm:¢, address 4910 Kno;tville Ave - ‘ Lakewood CA"` 90713
Sfreet Ct‘ty Stals le
M 'l' d . ,/' a* :
at tugs dress tf ferem) saw my ser ap l
|f more than one Plaintiff, list next Plainti_ff here: _

' 'Nnttie'. ' " ‘ Ph`one:( l
Street address: guns ' my sam = mp
Mailing address (fd¢}j'ermt):mm

Clly S¢ate Zl,o

l:.l Clteclc here ifmore than 2 PIat'mW.`s and attach Form SC~IOOA.
l:l Check here if either Plaimtj` listed above is doing business under a fictitious name Ifso. attach Form SC-]O$.

@ The Defendant (the person, business, or public entity being sued) is:

 

 

Ngm¢ Nlid|and CredltManagement inc . Phone:( ) , . ,
. Strce,addrcss 27ioGatewavOaksDrsu1te150N Sacramento . CA 95833

c_ity state ztp

Mailing addressi fd§em)td(: Age'nf. CSC . .
Cl’iy ‘ St‘at'e ` le ‘

if more than one Defendant, list.’next Defendant`here: _ _
Nome: ' ' ' Phone: L___l____

Street address:
sonat
Mailing address (Ifznj‘erent):
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city stats zrp

Ct'ty Slafe th

l:l Check here if more titan 2 Defenda)_us and attach Fonn SC-I 00A.
m Check here if any Defendant is on active military duty_ and write his or her name here: _____________

l

@ The Ptalntltt claims the Defendant owes s 1000-00 . (axptatn betowi.~
a. Why does the Defendant owe the PlaintiH`money? MOnles due

 

 

b. When did this happen? (Date):
if no specific date, give the time patiod: Date started: M Througit: 051 09/201 2

c. How did you calculate the money owed to you'l (Do not include court costs orfeesfor service.) FDCF’A
Section 809 C Fal|ure to validate dept as reported to the credit agencies

[:l C}_tecl_c here 1f you need more space Attach one sheet of paper or Form MC-UJ} and wrue ‘SC-! 00 Item 3"a_1
lite top. .

 

swimming Plaintiff’s Clalm and ORDER 5¢"°°»*’89°2°’5
~ ~ . - . - to Go to Small Claims Court -~ ' ~ ' 1 "'>
(Smalt Clatms)

Case 2:12-cV-05527-|\/|WF-PLA Document 1 Filed 06/25/12 Page 7 of 18 Page |D #:9

 

 

 

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Casa Numbar:

 

 

Plainiiff`(lisi names).' CUmS Dump

 

 

` '. Yo_u must ask the Defendant (in pe`rson, in writing, or by phone) to pay-you before you
sue. l~iave you done this? E’.l Yes [:i No '
if no, explain why noi:

 

 

 

 

@ W_hy are you filing your claim at this courthouse?

This courthouse covers the area (eheck the otte that applies'): . . _ . .

a. (l) Where the Defendant lives or docs business (4) Wherc a contract (written or spoken) was madc,
`(2) Wherc the`Plaintiff's property was damaged.' ` signed, performed or broken by the Defendant or'
(3) Where me plaintiff was ‘mjmed. where the Defendant lived or did business whcn

the Defenth made the connect.

b. [] Where thc buyer or lessee signed the connact, lives now, or lived when the contract was madb, if this claim
is about an offer or contract for personal, family, or household goods, services, or loans. (Code Civ.
Pmc., § 395(b).)

. c. l:i Wherc the buyer signed the connact, lives nowI or lived when the connect was made, if this claimiis about .

a retail installment contract (like a credit card). (Ct'vt'l Cade. § 1812.10.)

d. l:l Where the iiuyer signed the contract, lives now, or lived when the contract was made, or where the vehicle
i's permanently gamged, if this claim is about a vehi_c_le finance saie. (Ct'v`t‘l Code, § ~2984.4.)

e. i:i Othcr (spect‘]_‘y): _ "

 

 

® l.ist the zip code of'the place checked in © above (if you bmw): 90713

 

® is your claim about an attorney-client fee dispute?_ ill Yes [Zl No
` ' Ifyes, and if you have had arbitration fill out Form SC¢!Ol, attach ii la this form,` an'd check here: [:]

Are you suing a`public entity? i'_`l Yes iZl No

lfyes, you must file a written claim with the entity jirst. ij A claim was filed on (date):

if the public entity denies your claim or does nat answer within the time allowed by law, you canjiie this form.
@ Have you filed more than 12 other small claims within the last 12 months in Caiifornia?

l:l ch No lfyes, the filing fee far this case will be higher.

 

 

l understand that by filing a claim in small claims court, l have no right to appeal this claim.

l have not tiled, and understand that l cannot lile, more than two small claims cases for more than $2,500 in
Calit‘omia during this calendar year.

l dcclare, under penalty of perjury under Califomia State law, that the information above and on any attachments to

this form is true and correct
Date: CE£/Oa z, Curiis Dump b H/vo& VA//W

 

 

 

 

 

 

 

 

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§§ services are available ii` you ask _at least 5 days before the niaL Contact the clerl_c’s office for Form'
E MC-MO, Requerrfar/tccammodatt‘ons by Persons With 'Disabilities and Response. (Civil Code, § 54.8.)
R°"‘°"J‘“"'" "z°‘z ~ ' Plalntiff’s Clain}:and ORDER ~ SC"°°' Paii° 3 °[5 ~'
to Go to Small iaims Court . -3>

(Smali Cla|ms)

y Case 2:12-cV-05527-I\/|WF-PLA Document 1 Filed 06/25/12 Page 8 of 18 Page |D #:10

  

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“Small claims court" is a` special court where claims
for $~5,000 or less are decided A "-n'atural person" (not a `
business or public entity) may generally claim up to
$10,000, including a sole'proprietor. (*»See below for
exceptions.) The process is quick and cheap. The rules are
simple and informal.

You are the Defendant-the person being sued. 'I`ltc
person who is suing you is the Plaintiff`.

Do l need a lawyer?

You may talk to a lawyer before or after the case. But you
moy rior-have a lawyer represent you in court (u`nless this
is.an appeal i`rorn` a small claims case).

How do l get ready for.cot_rrt?

You don’t have to tile any papets»bel`ore your trial, unless
yQu think this is the wrong court for your case. ~But bring
to your trial.any witnesses9 receipts, and evidence that
supports your case. And` read “Be Prcpared for Your
Trial” at mvw.courrs.ca_.gov/smol[c!alnu/Prepare.

`What if 'l need an acc'om’modation?
If you have a disability o_'r~are hearing impaircd, fill out
Form MC-4!0, Requestfbr. Accommodalions. Give the
~ form to your court clerk or the"ADAlAccess'(-.`oordinator.

what itt don’t speak Engli'sh well?
Bring an adult_wbo is _not a witness to interpret t`or you, or

ask the court clerk for an interpreter at least five days before _

your court date. A cou`rt~provi_ded interpreter may not be
available or there may be a fee for using a court interpreter
unless you qualify for a fee waiver. You may ask the court

for a list of interpreters and also the Appiicalionfbr Waiv_er ’

of Court Fees and Costs‘(form FW-OOl).

Where can l get the court forms l need?
Go to any courthouse or your county law library, or print
forms nt: www.couris.ca.gov/smallclaims/johns

What happens at the trial?
'l`he judge will listen to both sides. The judge may make a
decision at your trial or mail the decision to you later.

What if l lose the case?

lf you lose, you can appeal. You’ll have to pay a fee.

(Pl'aintiii`s cannot appeal their own claims.)

' If you were at the tn'al, file Forrn SC- l-40, Notice of
Appeal. You must tile within 30 days after the
judge's decision

' if you were nor at the trial, fill out and file Form
SC-l35, Notice of Motion to Vaca!e Judgmenl and
Declararion, to ask the judge to cancel the judgment
(decision). ll` the judge does not give you a new
trial, you have l0 days to appeal the decision. File

_ Form SC~MO. _
. For more information o'n appeals, sees
www.eou_rts.ca.gov/smallcloims/appedls.

 

Dol have o_pttons?

Yes.- if you are being sued, you can'.

' Settle your case.before the trial. lf you and the
Plainti_fi` agree on`ltow to settle the casc, both of you must
notify the court, Aslt the Small~Claims Advisor for help.

‘ Prove this is the wrong court. Send a letter to the
court be@re your trial, explaining why you think this is
the wrong court, Aslt the court to dismiss the claim.

' You must serve (give) a copy _of your letter (by mail.or
in person) to all parties. (Y our letter to the court must
_, say you have done this.)

_ -. Go to the trial and try to win your case. Bring

witnesses, receipts, and any evidence you need to
prove your case. To make sure the witnesses go to the
trial, fill-om.F_orm SC-107, and tbe'clerk will subpoena
(order) them to go. _‘° .

' Sue,the person who is suing you. File _Fonn
SG~l”lO, Defendant 's Claim. There are strict filing
deadlines you must follow.

' Agree with the'Plaintiff's‘ claim:and pay the '
money. Or, if you can’t pay the money now, go to
your trial and say you want to make payments

- _Let the-case -"default.’.' lfyou dcn’t settle and do not .

E'go to the trial (def`a'ult), the judge may give the Pla_i_ntiii`
what he or she is asking for plus court'costs. Ii' this

. happens, thePlaintiff.can legally'talte your money;

wages, and property to pay the judgmeut.

What if l need more time?

You turn change the trial date ii`:

'You cannot go to court on the scheduled dale (you'will

have to pay a fee to postpone the trial) or

- You did not get served (rcceivc this order to go to
court) at least 15 days before the trial (or 20 days if you
live outside the county) or

- \’ou need more time to get an interpreter. One
postponement is allowed, and you will not have to pay
a fee to delay the trial.

Ask the Small Claims Clerk about the rules and fees for

postponing a;nial. Or fill out Form SC-l$O (or write a

letter) and mail it to the court and to all other people listed

on your court papers before the deadline Enclose a check
for your court fees, unless a fec waiver was granted

t ' Need help?

' Your county’s Small Claims Advisor can help for frec.

 

‘ t

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~ Or go to www.courtscd.gov/sma!lclaims/advisor.

'Exeeptiorts: inherent limits apply in an action against a defendant who is a guarantee tSec Cod: Civ. t>mc. § t 16120(<:).) ln an action brought by a natural person for
damages for bodily injuries resulting from an automobile necldent. n 57.500 limit npplics_ifa defendant is covered by an automobile insurance policy that includes a duty

to defend. (See'Codc Civ. Proc. § l 16.221.)

 

Rovlsad Jttrtunry 1.2012

Plaintiff’s Claim and ORDER to Go to Small Claims Court
(Small Clalms)

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La`"Corte de~re'clames menores" es una corle especial
donde se'declden cases por $5,000 d menos. Una "persona
natural" (que no sea un negole nl une entldad,publlca)
puede reclamar hasla $10,000. Una"‘persona nalura|" (que

` no sea un negoclo nl una entldad publica). que lncluye `un
duello unlco, generalmenle puede reclamar hasla $10.000,
(‘ Vea aba}o para las excepclones.) El process es répldo y
baralo. l.as reglas son sendl|as e informeles.
usled es el Demandado - la persona que se esta demand~
endc\. La persona q_ue lo esla demandando as e! Demandame.
¢Neceslto un abogado?

~~ Puede hablar con un abogado ames o después delcaso.
Pero no puede lener a un abogado que lo represenle ante
la cone (a men'os que se l'rale de una apelaclbn de un esso '
de‘reclamos menores).

¢Cd_mo me prepare para lr a la cprte?

No tlene que~presemar nlngunos pa peles ames del ]`ulclo, a
menos que plense que ésla es la corle equlvocada para su
ca`§o. Pero'lleve al julcilo Cualquler lesllgos. reclbos_, y
cualquler pruebas que¢apoyan su caso. Y lea “Esl_é
preparado para sululclo" en:
www.doudslca`gev/re'clamos‘men'ore's/preparese.

LQué hago el neceslto=una adaptaclén?

Sl llene una dlscapacldail o liene lmped|menlos de
audlelun. llene el fonnularlo_ MC-41_0, Requesl for .
Accomodat!ons. Enlregue el formularlo al secrelano de la
cone 0 al Coordlnaclor'de AccesolADA de su corte.

_ g,Qué pasa sl no hahlo` lnglés blen? _ _ _ . ,
Tralga a un adulto que no.sea restlgo para que le slrva de
lme`rprele. 0 plda al secrelarlo de la cone que le aslgne uno.
Sl qulere que la cone le aslgne u`n lmérprele, lo llene que
pedlr comp mlnlmo manos clnco dlas ames de le fecha en
que tenga que lr a la oone. Es_' poslble que no haya dlsponlb|e
un lnlérprele proporclonado por la cone o que lenga que
pagar una cuola por emplear un lmérprete de la oorle. a
menos que lenga una exenclén de cuolas. Puede pedlr a la
cone una llsla de lnlérpreles y la Sollcllud de exencl¢')n de
cuolas y costos de la code (lormularlo FW-001).

¢Dénde puede ohtener los fonnularios de la cone que
necesl\o?

Vaya a cualquler edlflclo de la corle. la blblloleca legal de su
condado. o lmpnna los lonnularlos en: ww'.»/.courls.ca.gov/
smallclalms/lorms (péglna esla en lnglés).

z,Qué pasa en el julclo?

El |uez escuchara a ambas partes. El ]uez puede lomar

su declslén durante la audiencla o env|arse|a per correa
despues.

(,Qué pasa sl plerdo el caso?

Sl plerde, puede apelar. Tendra que pagar una cuola, (El
Dernandame no puede apelar su propio reclamo.)

Sl estuvo presente en el julclo, llene el lonnulario

80»140, Avlso de apelacldn. `l“lene que presentarlo

denno de 30 dlas depués dela declslén del luez.

Sl no esluvo en el §ulelo, llene y presente el ormulario

80-135, Avfso de petlclén para anular el fallo y

De_claraclén para pedlrle al luez que anule el lallo

(declslén),~Sl la cone no le otorga un nue\`/`o lulclo_. rlene `

10 dias para apelar la decl'slc')n. Preseme el lonnularlo

SO-140.

,Para obtener mas lnformacién sobre las apelaclones, vea:

www.couds.c'a. ov/reclamosmenores/a elaclones.

Revisodanuw 1.20_17 _

 

Reclamo del Demandante y ORDEN~

.L-'. '.~ '.l ,1;.‘.. -‘.1561!~;6‘34,'.\¢':~»:.~.=:., .a.-.~.a .r.: ::`- , i_.'.ri-»r»,¢;..~.s,`r.mgweil»;;“;~._,-_»zg,,u-»>.§;q¢;'lg=.y::;';z:;`r;;¢;,‘a;.»,¢::\=.=':;.-.-. .\. 3 .,. ;4%,;+_\.'»§;;;;.,4,'.‘\ g-.-,..,.;_'~;.' ;.:q.,-;¢;,.»_;.. .,._;'_1\ ,._-_',_'~ ,;-;:.,;

lnformaclén arael~.clemandado la ersona,demandada

¢Tengo‘otras.epclones? '

Sl. Sl lo eslan dem'andando, puede:
- Resolver su case ames del juiclo. Sl usted y el
Demanda'nte se ponen de acuerdq,en resolver~el caso,
ambos lle'nen que nollllcar a la oorle. Pidale al Asesor de
Reclamos Meneres que lq` ayude.

Probar que es la cone equlvocada. Envle una earle a la
cone ames del luile expllcando por que cree `que es la
cone equlvocada. Pldale a la cone que despld.a el
reclamo. Tlene que enlregar (dar) una copla de au carla
(por correa o en persona) _a todas las panee. (S_u carta a la

- cone rlene que decir que hlzo la entrega'.) ‘

lr al |u'lcl'o y trata_r de ganar el caeo. L|evia lesllgos,
rec_|bQ`s y r':u'alquler prueba que neceslle para`~prob`arsu
caso. Para asegurarse que los tesllgos vayan al lulclo.
llene el fonnulario SO-107. y el secrelano emlllra una
orden de comparecencla ordenandoles§ue se presenten.
bemandar a la-persona qua lo demandd.`Presenle el
formfularlo'SC-120. Reclamb del demandado. Hay fechas
llmlle eslrlclas que debe segulr.

Aceplar_el re_clamo del _Dema_ndante y pager el
dlnero. O', si no puede pager en esa momenlo'.`vaya`al '
julcio y dlga que qulere hacer los pagos.

' No lral lulclo y aceptar~ el fallo per falla de

' . comparecencla. Sl no l|ega a un acuerdo con el . .

‘.~'Deman'danle y no va al lulclo (fallo por falla de
oomparecencla), el luez'la puede clorgar al De`mandame
~lo que e_sl._é reclamando mas los cnstos de la corle. En ese
caso, el Demandame legalmeme puede lomar su dlnero.
su sueldo o sus blenes para cobrar el fallo.

J,Qué hago-el neceslto mae tlempo?

Puede camblar la feeha del lulclo sl: ,

. No puede lr a la code en la leona programada (lendra quo
pagar una wore para aplazar el]ulclo) o

. No le entregamn los docunemos legalmeme (no redblb la
arden para lr a la oorle) por lo menos 15 dias ames del ]uldu
(6 20 dlas sl vlvs fuera dd oondado) o

Neces'na mas llempo para consegulrimérprele. (Se permlta un
aug aplazamlenla sln tener que pagarouota para aplazar al
jul o .

Pregunlele al secrelano de reclamos menpres sobre las
reglas ylas cuotas para aplazar un julclo. 0 llene el
formulario SC-150 (o escriba una carla) y envlelo ames del
plaza a la cone y a lodas las otras perspnas que llguran en
sus papeles de la cone. Adlume un cheque para pagar los
coslos de la corte. a menos que le hayan dade una exenclén.

"- ¢Neceslta ayuda? El Asesor de Reclamos
Menores de su condado le puede ayudar sln cargo.

  

 

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0 vea 'lnformaclbn por condado" en:

. www.oourls.ca.gov/reclarnosmenores/_asespres.

.‘Exeep'clonns`: FJ}lslan llll Ilmllas an un

 

`cnnlra un ., (Vea a‘l

_ Cédlgo de Procedlmlenlo Clvi. session 116.&0 (c),) En un ease peasemado par

una persons natural per danos debldo a loslnnes llsirzs en un aecldenle
oulomavlllslloo. exlsre unllmite de $7.500 xl al damandado liens mberlum bajo one
pé|lm de segura do vehlwlo qua lncluyo la nbligaeibn de dalendar. (Vaa elcedigo
de Pmeedlmlamo Clvil. session 116121.). ' _ ~ ,

SC-1 90, Page 5 al 5

Para lr ala Corte de Reclamos Menore$

(Rer_:|amos

Menores)

Case 2:12-cV-05527-I\/|WF-PLA Documentl Filed 06/25/12

CDRPDRATIDN SERV|GE CDMFA||Y'

Notice of Service of Process

Primary Contact: Tanya Flores
Mid|and Credit Management. lnc.
3111 Camino del Rlo North
Suite 1300
San Diego, CA 92108

Page 10 of 18 Page |D #:12

AP1 IALL
Transmittal Number: 9950905
Date Processed: 05124/2012

 

Copy of transmittal only provided to: Lelna Veniegas
Marie Bola
Sany Chay
Entity: Mid|and _Credit Management, inc
Entity lD Number 1682419
Entity Served: Midiand Credit Management inc
Title of Action: Curtis Dump vs. Mldland Credit Management lnc
Documant(s) Type: Order
Nature of Action: Contraot
Court/Agency: Los Angeles County Superior Courtl California
CaselReferance No: 12800406
Jurisdlctlon Served: Californla
Date Served on CSC: 05/24/2012
Answer or Appearance Due: 07/02/2012
Origlnaiiy Served On: CSC
How Served: Personal Service
Sender lnformation: Curtis Dump
' 562-343-0674

 

information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). lt does not
oonstitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to -CSC
CSC is SAS7O Type ll certified for its Litigation Management System.
2711 Centervi|le Road Wllmlngton, DE 19808 (888) 690-2882 | sop@cscinfo.com

Case 2

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12-cv-05527-I\/|WF-PLA Document 1 Filed 06/25/12 Page 11 of 18 Page |D #:13

PROOF ()F SERVICE

STATE OF CALIFORNIA )

)
CoUNTY or Los ANGELES )

SS.

l am employed in the County of Los Angeles, State of California.

l am over the age of eighteen years and note party to the Within action. My business address

is 5959 W. Century Blvd., Suite 1214, Los Angeles, CA 90045.

On June 25, 2012, l served the foregoing document(s) described as: NOTICE OF

REMOVAL on all interested parties in this action by placing a true copy thereof enclosed in a
sealed envelope addressed as follows:

[Xl

ll

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[Xl

 

SEE ATTACHED SERVICE LIST

BY MAIL: l sealed such envelope(s) and placed it (thcm) for collection and mailing on.this
date following the ordinary business practices of Carlson & Messcr LLP. l am “readily
familiar” With the business practices of Carlson & Messer LLP for collection and processing
of correspondence for mailing With the United States Postal Service. Such correspondence
would be deposited with the United States Postal Service at Los Angeles, California this
same day in the ordinary course of business with postage thereon fully prepaid

BY ELECTRONIC MAIL : Based on Court order or an agreement of the parties to accept
service by e-mail or electronic transmission, l caused the said documents to be sent to the
persons at the electronic mail addresses listed below (see attached service list). I did not
receive within a reasonable time after the transmission, any electronic message or other
indication that the transmission was unsuccessful

PERSONAL SERVICE BY HAND- l personally served document to address stated on
POS Service List.

BY FACSIMILE- l transmitted via telecopier machine such document to the offices of the
addressees

(STATE) I declare under penalty of perjury under the laws of the State of California
that the above is true and correct.

(FEDERAL) - l declare that l am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executed this 25th day of June, 2012 at Los gelcs, California.

 

PROOF OF SERVICE

 

Case 2:1 Z-cv-05527-I\/|WF-PLA Document 1 Filed 06/25/12 Page 12 of 18 Page |D #:14

SERVICE LIST
Curtis Dump v. Midland Credit Management. Inc.
File No.: 07156.00

,_.A

Curtis Dump IN PRO SE
4910 Knoxville Avenue

Lakewood, California 90713

Tele: (562) 343-0674

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PROOF OF SERVICE

 

 

Case 2 12-cv-05527-I\/|WF-PLA Document 1 Filed 06/25/12 Page 13 of 18 Page |D #:15

§E__B_Y_I_QM
Curtis Dump v. Midland Credit Management, Inc.
File No.: 07156.00

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Curtis Dump IN PRO SE
4910 Knoxville Avenue

Lakewood, California 90713

Tele: (562) 343-0674

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PROOF OF SERVICE

 

 

Case 2:12-cV-05527-I\/|WF-PLA Document 1 Filed 06/25/12 Page 14 of 18 Page |D #:16

CIVIL COVER SHEET

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

l (a) PLAINTIFFS (Check box ifyou are representing yourself ij )

Curtis Dump

DEFENDANTS
Midland Credit Management,

Inc.

 

(b) Attomeys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)
Curtis Dump

(prc Se)

4910 Knoxville Ave

 

Attorneys (lf Known)

Stephen A. Watkins
Carlscn & Messer LLP

(SB #2051'75)

 

Lakewcod, CA 90713 5959 W. Century Blvd. #1214
(562) 343~0674 Los Angeles, CA 90045
(310) 242-2200
II. BASIS OF JURISDICTION (Place an X in one box only.) III. CITIZENSHII’ OF PRINCIPAL PARTIES - For Diversity Cases Only

l:] 1 U.S. Government Plaintiff

I:l 2 U.S. Govemment Defendant

3 Federal Question (U,S.
Government Not a Party)

§ 4 Diversity (lndicate Citizenship
of Parties in Itern IIl)

 

Citizen of This State

DEF
§ 1

PTF
§ 1

Citizen of Another State i::| 2 I:l 2

Citizen or Subject cfa § 3 § 3
Foreign Country

incorporated or Principal Place

(Place an X in one box for plaintiff and one for defendant.)

of Business in this State

Incorporated and Principal Place [:l 5 l:l 5
of Business in Another State

Foreign Nation

PTF DEF
§4 §4

§6§6

 

IV. ORIGIN (Place an X in one box only.)

 

l:l 1 Original E§'_l 2 Removed from § 3 Remanded from § 4 Reinstated or l:l 5 Transferred from another district § 6 Multi~ § 7 Appeal to District
Proceeding State Court Appellate Court Reopened (Sp@Cify)! District Judge from
Litigation Magistrate Judge
V. REQUESTED IN COMPLAINT: JURY DEMAND: § Yes l:§:l No (Check 'Yes‘ only if demanded in complaint,)

CLASS ACTION under F.R.C.P. 23: § Yes iii No

MONEY DEMANDED IN COMPLAINT: $ l l 0 Q O

 

VI.

Plairitiff claims Defendant violated the Fair Debt Ccllecticri Practicee Act,
in its attempt to collect a debt from Plaintiff

1692 et Seq.

CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

15 U.S.C.

 

VII.

NATURE OF SUIT (Place an X in one box only.)

 

§400 State Reapportionment

[:]410 Annuun

§430 Banks and Banking

§450 Commerce/ICC
Rates/etc.

§460 Deportation

§ 470 Racketeer lnfluenced
and Corrupt
Organizations

 

   

§ 110 Insurance
120 Marine

§ 130 MiuerAcr

§ 140 Negotiable Instrument

150 Recovery of
Overpayment &
Enforcement of
Judgment

§ 151 Medicare Act

   

 

§ 310 Airpiane
315 Airplane Product

Liability

§ 320 Assaulc, Libei &
Slander

§ 330 Fed. Employers’
Liability

§ 340 Marine

§ 345 Marine Product

   

   

§ 370 Other Fraud

§ 371 Tmrh iii Leiiding

§ 380 Other Personal
Property Damage

Product Liability

 

 

   
  
     
    

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510 Motions to
Vacate Sentence
Habeas Corpus

530 General

535 Death Penalty

§ 385 Property Damage § 540 Mandamus/

Other
550 Civil Right$

  

 
 
  

     
 
   

  

§ 710 FaiiLabor
Standards Act

§ 720 Labor/Mgmi.
Relations

§ 730 Labor/Mgmt.
Reporting &
Disclosure Act

§ 740 Railway taer Act

§ 790 othertaboi

 
   

     

     

 

 

 

 

 

 

 

 

§480 Consumer Credit § 152 Recovery of Defaulted Liabili {::] 422A " ` l 28` USC 555 prison Condition Litigation
§490 came/sai rv Swdent loan (Excl. W . ppea 1 i:i 791 E l R t l
§ 810 Selective Service Veteran$) l:, 350 Motor Vehlcle 158 1 §§ mp '* c ` nc'
. . . . :] § 355 Mech vehic1e § 423 Wiihdiawal 28 g 4 S_¢<=urlty Act
850 Secunties/Commodlties/ 153 R€COV€W Of Pmduct liability § 610 Agriculmre ,. _ ; . g q g

Exchange everpa).lmem O; § 360 Other Personal , . § 620 Other Food & l:l 82 Copyrights

§ 875 Customer Challenge 12 eterans gene ns - § -
[:] 160 Stockholders, Suits ln_|ury 441 Voting Drug 830 Patent

USC 3410 :] § 362 Personal Injury- § 442 Employment l:l 625 Drug Related l 840 Trademark

§390 th€r Sfallllory ACflOnS 190 Other C°mra°t Med Malpractice 443 HousinyAcco- Seizure of 90 ~ 3 E91 3’
891 Agricultural Act \:i 195 C_<)ntract Product l: 365 Persona\ injury_ mmodations Property 21 USC :l 861 HIA (1395ft)

§ 892 economic stabilization Llablllf_¥ Pmdiict Liabiiiiy § 444 weiraie 831 862 Black Luiig (923)

Act 96 Fran°hls § 368 Asbestos Personal 445 American with l:l 630 Liquor Laws 863 DIWC/DIWW
§893 Environmental Matters -, 2 1 1 lnjury Product Disabilities ~ § 640 R.R. & Truck (405(g))
§ 894 Energy Allocation Act l:l 210 Land Condemnat10n liability EmPlO)/mem § 650 Airline Regs § 864 SSID Title XVI
l:l 895 Freedom of Info. Act § 220 Foreclosure 3 § 446 American with 660 Oceupational § 865 RSI 405 ;
§ 900 Appeal of Fee Determi- § 230 Rent Lease & Ejectment [::] 462 Naturaliza;ion Disabilities - Safety/Health ,1 , . z .

nation Under Equal 240 Torts to Land Application Other § 690 Other § 870 Taxes (U.S.

ACC@SS to Justice § 245 Tort Product Liability l:l 463 Habeas Corpus~ l:l 449 th€r CiVil Plainfiffor
l:l950 Constitutionality cf g 290 AH O;h@r Rea! property Alien Detainee Defendant)

Sfaf€ Sfawfes § 465 other immigration § 871 ins . rhird Paiiy

Actions §§ 26 USC 7609
FOR OFFICE USE ONLY: Case Number: _
AFTER COMPLETING THE FRONT SIDE OF FORM CV-7l, COMPLETE THE INFORMATION REQUESTED BELOW.

CV~71 (05/08) CIVIL COVER SHEET Page 1 of2

CCD-JS44

ease 2:lz'Cdis(i§iS§zD?s'"M\/TVEFS'iF))isiRi?:ci“Cé'gilipit,%Eigil§gf)§i§§iili%'r @§%eAthBfRi\fiA Page 'D #:17

CIVIL COVER SI»IEET

VIII(a). IDENT!CAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No \:i Yes

 

Ifyes, list case number(s):
Vlll(b). RELATED CASES: Havc any cases been previously filed in this court that are related to the present case? No [::i Yes

ifyes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) l:: A. Arise from the same or closely related transactions, happenings, or events; or
i: B. Call for determination of` the same or substantially related or similar questions of law and fact; or
i:| C. For other reasons would entail substantial duplication of labor if heard by different judges', or
i:\ D. lnvolve the same patent, trademark or copyright, Ld one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)
(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
\:i Check here if the government, its agencies or employees is a named plaintiff If this box is checked, go to item (b).

 

County iri this District:* Calif`ornia County outside ofthis District* State if other than California; or Foreign Country

 

LOS Angeles

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California', or Foreign Country, in which EACH named defendant resides.
\:i Check here if the government, its agencies or employees is a named defendant If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than Califorriia* or Foreign Country

 

Saiv` diego

 

(c) List the County in this District; California County outside of this District; State if other than California‘, or Foreign Country, in which EACH claim arose.
Notc: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* Calif`ornia County outside of this District; State if other than California; or Foreign Country

Lo 1 41 14 ge l er
* Los Aiigeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: ln land condemnation cases, use the location of the tract of land involved

x. siGNA'rURE oF ATToRNEY (oR PRo PER). _ //</ "_/ pate June 2 5 , 2 0 12

Stephen A. Watkins

 

 

 

 

 

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the J udicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Pait A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. l935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U¢S-C- (g))

 

CV-7l (05/08) CIVIL COVER SHEET Page 2 of2

Case 2

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:12-cv-05527-I\/|WF-PLA Document 1 Filed 06/25/12 Page 16 of 18 Page |D #:18

PROOF OF SERVICE

STATE OF CALIFORN1A )
)
COUNTY OF LOS ANGELES )

SS.

1 am employed in the County of Los Angeles, State of California.

1 am over the age of eighteen years and not a party to the within action. My business address

is 5959 W. Century Blvd., Suite 1214, Los Angeles, CA 90045.

On June 25, 2012, 1 served the foregoing document(s) described as: CIVIL COVER

SHEET on all interested parties in this action by placing a true copy thereof enclosed in a sealed
envelope addressed as follows:

SEE ATTACHED SERVICE LIST

BY MAIL: 1 sealed Such envelope(s) and placed it (them) for collection and mailing on this
date following the ordinary business practices of Carlson & Messer LLP. 1 am “readily
familiar” with the business practices of Carlson & Messer LLP for collection and processing
of correspondence for mailing with the United States Postal Service. Such correspondence
Would be deposited With the United States Postal Service at Los Angeles, California this
same day in the ordinary course of business With postage thereon fully prepaid.

BY ELECTRONIC MAIL : Based on Court order or an agreement of the parties to accept
service by e-mail or electronic transmission, 1 caused the said documents to be sent to the
persons at the electronic mail addresses listed below (see attached service list). 1 did not
receive Within a reasonable time after the transmission, any electronic message or other
indication that the transmission Was unsuccessful

PERSONAL SERVICE BY HAND- I personally served document to address stated on
POS Service List.

BY FACSIMILE- 1 transmitted via telecopier machine such document to the offices of the
addressees.

(STATE) 1 declare under penalty of perjury under the laws of the State of California
that the above is true and correct

(FEDERAL) - 1 declare that 1 am employed in the office of a member of the bar of this court
at Whose direction the service Was made.

 

PROOF OF SERVICE

 

Case ii:lZ-cv-OBBZ?-I\/|WF-PLA Document 1 Filed 06/25/12 Page 17 of 18 Page |D #:19

,__i

SERVICE LIST
Curtis Dump v. Midland Credit Management. Inc.
File No.: 07156.00

Curtis Dump IN PRO SE
4910 Knoxville Avenue

Lakewood, California 90713

Tele: (562) 343-0674

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PROOF OF SERVICE

 

 

Case 2:12-cV-05527-I\/|WF-PLA Document 1 Filed 06/25/12 Page 18 of 18 Page |D #:20

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNlTED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Michael Fitzgerald and the assigned
discovery Magistrate Judge is Paul Abrams.

The case number on all documents filed With the Court should read as follows:

CV12- 5527 MWF (PLAX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTlCE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ali defendants (if a remova/ action is
filed, a copy of this notice must be served on a// p/aintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division [_] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location Will result in your documents being returned to you.

 

CV-18 (03/06) NOTlCE OF ASS|GNMENT TO UNlTED STATES l\/|AGlSTRATE JUDGE FOR DlSCOVERY

